








				








In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-08-00303-CR

____________


JAMES ROWLAND, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 232nd District Court 

Harris County, Texas

Trial Court Cause No. 1159868






MEMORANDUM  OPINION

	We lack jurisdiction to hear this appeal.  Appellant, James Rowland,
pleaded guilty to the offense of robbery, and, in accordance with his plea bargain
agreement with the State, the trial court sentenced appellant to confinement for 15
years.  Along with the plea, appellant, appellant's counsel, and the State signed a
stipulation of evidence which included, among others, the following statements: "I
intend to enter a plea of guilty and understand that the prosecutor will recommend
that my punishment should be set at 15 years TDCJ-ID...I agree to that
recommendation...Further, I waive my right of appeal which I may have should the
court accept the foregoing plea bargain agreement between myself and the
prosecutor."  The trial court's judgment is stamped, "Appeal waived.  No permission
to appeal granted."  

	 After the trial court sentenced appellant to punishment that fell within the
terms of the plea bargain agreement, the trial court certified that this case is a plea-
bargain case and the defendant has no right to appeal.  Appellant did not request the
trial court's permission to appeal any pre-trial matters, and the trial court did  not give 
permission for appellant to appeal.   Appellant filed a timely  pro se notice of appeal. 
This appeal followed.

	We conclude that the certification of the right of appeal filed by the trial
court is supported by the record and that appellant has no right of appeal due to the
agreed plea bargain.  Tex. R. App. P. 25.2(a).  Because appellant has no right of
appeal, we  must dismiss this appeal "without further action." Chavez v. State, 183
S.W.3d 675, 680 (Tex. Crim. App. 2006).

	

	Accordingly, the appeal in Trial Court Cause Number 1159868 is
dismissed for lack of jurisdiction.

	Any pending motions are denied as moot.

PER CURIAM


Panel consists of Justices Nuchia, Alcala, and Hanks.

Do not publish. Tex. R. App. P. 47.2(b).


